Case 1:22-cr-20030-FAM Document 35 Entered on FLSD Docket 08/23/2022 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CR-20030-FAM

  UNITED STATES OF AMERICA

  vs.

  ALEJANDRO ALVAREZ,

        Defendant.
  ______________________________________/

                       THE UNITED STATES OF AMERICA’S
              UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

         The United States of America, through undersigned counsel, respectfully requests this

  Court to continue the sentencing hearing of Defendant, Alejandro Alvarez (“Defendant”), until at

  least September 6, 2022, and in support states:

         1.       On June 22, 2022, the Defendant pled guilty to Count 2 of the indictment,

  distribution of child pornography, in violation of Title 18, United States Code, Section 2252(a)(2).

  (DEs 24, 25).

         2.       On June 23, 2022, the Court set the Defendant’s sentencing hearing for August 29,

  2022, at 9:30 am. (DE 27).

         3.       The undersigned is currently scheduled for jury duty at the 11th Judicial Circuit of

  Florida for the week of August 29, 2022.

         4.       Therefore, the government is requesting that the sentencing hearing be continued

  until after the undersigned has completed jury duty.

         5.       In accordance with local rule 88.9 the government has conferred with counsel for

  the Defendant, who does not object to the relief requested herein.
Case 1:22-cr-20030-FAM Document 35 Entered on FLSD Docket 08/23/2022 Page 2 of 2




         6.     For the reason set forth above the government respectfully requests that the Court

  continue the Defendant’s sentencing until at least September 6, 2022.

                                                  Respectfully submitted,

                                                  Juan Antonio Gonzalez
                                                  United States Attorney

                                            By:   /s/ Bertila L. Fernandez
                                                  Bertila L. Fernandez
                                                  Assistant United States Attorney
                                                  Florida Bar No. 124092
                                                  99 NE 4th Street
                                                  Miami, Florida 33132
                                                  (305)916-9099
                                                  Bertila.fernandez@usdoj.gov

                                       Certificate of Service

         I certify that on August 23, 2022, I electronically filed this document with the Clerk of

  Court using the CM/ECF system.

                                                       /s/ Bertila L. Fernandez
                                                       Bertila L. Fernandez
                                                       Assistant United States Attorney




                                                  2
